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     In The United States Court of Federal Claims
                        Nos. 07-06T, 07-706T, 08-135T, & 08-605T

                                  (Filed: February 8, 2013)
                                         __________

  PRINCIPAL LIFE INSURANCE
  COMPANY AND SUBSIDIARIES, et al.,

                               Plaintiffs,

                        v.

  THE UNITED STATES,

                               Defendant.
                                         __________

                                              ORDER
                                             __________

       On February 6, 2013, defendant filed a consent motion proposing a summary judgment
schedule for the previously taxed income issue. That motion is hereby GRANTED.
Accordingly, the briefing schedule is as follows:

       1.     On or before May 17, 2013, defendant shall file its motion for summary
              judgment;

       2.     On or before July 16, 2013, plaintiffs shall file their response and cross-
              motion, if any;

       3.     On or before September 12, 2013, defendant shall file its reply and a
              response to the cross-motion, if any; and

       4.     On or before October 15, 2013, plaintiffs shall file their reply in support of
              the cross-motion, if any.

       IT IS SO ORDERED.


                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
